                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA

                                    ASHEVILLE DIVISION

JANE ROE,                              )
                                       )
                        Plaintiff,     )
                                       )
v.                                     )             Civil No. 1:20-cv-00666
                                       )
UNITED STATES OF AMERICA, et al.,      )
                                       )
                        Defendants.    )
                                       )
_______________________________________)


          PLAINTIFF’S MOTION FOR AN ORDER PROVIDING LEAVE
    TO TAKE EARLY WRITTEN DISCOVERY FOR THE LIMITED PURPOSE OF
                IDENTIFYING DEFENDANT(S) JOHN DOE(S)
              TO AMEND COMPLAINT AND EFFECT SERVICE

       Pursuant to Local Civil Rules 16.1(f) and 26.1, Plaintiff Jane Roe moves for an order

providing leave to take early written discovery from Represented Defendants. See Doc. Nos. 26

and 27. Plaintiff requests early discovery for the limited purpose of identifying Defendant(s)

John Doe(s) (“Doe(s)”) described in Plaintiff’s Complaint in order to (1) amend the Complaint to

name identified Doe(s) as defendants and (2) effect service upon those individuals. See

W.D.N.C. Civ. Rule 6.1(d) (“A party seeking early Court-enforceable discovery may file a

motion for leave to take early discovery stating the reasons therefor.”). Absent court-ordered

early discovery or intervention, Plaintiff is unable to identify Doe(s) by name or effect service.

See Schiff v. Kennedy, 691 F.2d 196 (4th Cir. 1982) (recognizing that plaintiffs may identify

John Doe(s) defendants “through discovery or intervention by the court”).




                                                 1

        Case 1:20-cv-00066-WGY Document 29 Filed 04/28/20 Page 1 of 12
        This motion should be granted for the following reasons:

        1. Plaintiff’s Complaint alleges that Doe(s) actively coordinated and participated in

violating Plaintiff’s constitutional rights. For example, Doe(s) conspired to (1) shut down efforts

to take immediate and effective action on Plaintiff’s harassment complaints, Complaint ¶¶ 227–

35; (2) block Plaintiff from exercising her protected rights, id.; (3) retaliate against Plaintiff by

denying her a promotion, id. ¶¶ 227–28, 236–51; (4) refuse to disclose, or take timely action on,

the findings of the investigation into Plaintiff’s claims, id. ¶¶ 398–99, (5) force Plaintiff to

negotiate directly with an alleged violator of her rights, id. ¶ 407, (6) disclose Plaintiff’s

confidential narrative directly to an alleged violator of her rights, id. ¶ 451, and (7) refuse to

disclose any information to Plaintiff about the disciplinary proceeding on her complaint or the

nature of any corrective actions taken, id. ¶ 474.

        2. The identity, or identities, of Doe(s) is not known to Plaintiff, but is known to

Represented Defendants. For example, at numerous points during the EDR process, Defendant

James N. Ishida disclosed and described to Plaintiff his communications with Office of General

Counsel staff members—that is, with General Counsel Sheryl L. Walter and Doe(s). See, e.g.,

Exhibit A. Also, as General Counsel, Defendant Sheryl L. Walter, presumably has knowledge of

the members of her staff described in Plaintiff’s Complaint. In contrast, Plaintiff does not know

Doe(s)’ identity without early discovery.

        3. Plaintiff is prejudiced by not knowing Doe(s)’ identity, because Plaintiff has been

unable to effect service. On March 6, 2020, Plaintiff served Doe(s) by United States Postal

Service certified mail return receipt requested, postage prepaid to “c/o Office of the General

Counsel, One Columbus Circle NE, Washington, D.C. 20544.” See Exhibit B. Plaintiff’s

complaint was delivered on March 9, 2020. See Exhibit C. The original return receipt, however,



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         Case 1:20-cv-00066-WGY Document 29 Filed 04/28/20 Page 2 of 12
was not returned. See Exhibit D. It appears that the United States Postal Service delivered

service to individual capacity Defendants at One Columbus Circle NE, Washington, D.C. 20544

(“One Columbus Circle”) without timely obtaining return receipt. For example, service was

delivered to One Columbus Circle for Defendant Sheryl L. Walter on March 9, 2020, but she

signed the return receipt on March 13, 2020. See Doc. No. 16. Plaintiff does not know why the

return receipt for Doe(s) has not been returned, but as a member, or members, of Defendant

Sheryl L. Walter’s staff, with the same address, it is unlikely that Doe(s) did not receive service.

       4. Rather than awaiting the commencement of formal discovery in this case, providing

leave to take early discovery of represented defendants to identify Doe(s)’ name at this time will

help “to secure the just, speedy, and inexpensive determination of [this] action,” in accordance

with the purpose of the Federal Rules. Fed. R. Civ. P. 1.

       5. Pursuant to Local Civil Rule 7.1(b), the undersigned has consulted with represented

Defendants’ Counsel before filing this Motion. Represented Defendants (1) oppose the motion

for John Doe discovery and (2) do not consent to (and oppose) the Plaintiff’s request for

voluntary discovery.

       For these reasons, the motion should be granted.

                                                              Respectfully Submitted,

                                                              /s/ Cooper Strickland
                                                              Cooper Strickland
                                                              N.C. Bar No. 43242
                                                              P.O. Box 92
                                                              Lynn, NC 28750
                                                              Tel. (828) 817-3703
                                                              cooper.strickland@gmail.com

                                                              Counsel for Plaintiff


       April 28, 2020

                                                 3

        Case 1:20-cv-00066-WGY Document 29 Filed 04/28/20 Page 3 of 12
                                 CERTIFICATE OF SERVICE

I hereby certify that on the 28th day of April, 2020, I will electronically file the foregoing with

the Clerk of Court using the CM/ECF system, which will then send a notification of such filing

(NEF) to the following:

       Gill P. Beck at Gill.Beck@usdoj.gov

       Joshua M. Kolsky at Joshua.kolsky@usdoj.gov

       Shannon Sumerall Spainhour at mss@dhwlegal.com

And I hereby certify that I will mail the document by U.S. mail to the following:

       John Doe(s)
       c/o Office of General Counsel
       One Columbus Circle NE
       Washington, DC 20544

                                                              /s/ Cooper Strickland
                                                              Cooper Strickland
                                                              N.C. Bar No. 43242
                                                              P.O. Box 92
                                                              Lynn, NC 28750
                                                              Tel. (828) 817-3703
                                                              cooper.strickland@gmail.com




                                                  4

        Case 1:20-cv-00066-WGY Document 29 Filed 04/28/20 Page 4 of 12
Case 1:20-cv-00066-WGY Document 29 Filed 04/28/20 Page 5 of 12
Case 1:20-cv-00066-WGY Document 29 Filed 04/28/20 Page 6 of 12
Case 1:20-cv-00066-WGY Document 29 Filed 04/28/20 Page 7 of 12
Case 1:20-cv-00066-WGY Document 29 Filed 04/28/20 Page 8 of 12
Case 1:20-cv-00066-WGY Document 29 Filed 04/28/20 Page 9 of 12
Case 1:20-cv-00066-WGY Document 29 Filed 04/28/20 Page 10 of 12
Case 1:20-cv-00066-WGY Document 29 Filed 04/28/20 Page 11 of 12
Case 1:20-cv-00066-WGY Document 29 Filed 04/28/20 Page 12 of 12
